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                                                              U.S. District Court - District of Colorado
                                                                    District of Colorado (Denver)
                                                       CIVIL DOCKET FOR CASE #: 1:19-cv-03469-RM-MEH


Hodgkins et al v. Frontier Airlines, Inc.                                                                          Date Filed: 12/10/2019
Assigned to: Judge Raymond P. Moore                                                                                Jury Demand: Plaintiff
Referred to: Magistrate Judge Michael E. Hegarty                                                                   Nature of Suit: 442 Civil Rights: Jobs
Cause: 42:2000 Job Discrimination (Sex)                                                                            Jurisdiction: Federal Question
Plaintiff
Melissa Hodgkins                                                                                   represented by Galen Leigh Sherwin
                                                                                                                  ACLU Women's Rights Project
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V.
Defendant
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